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 1   Suzanne Burke Spencer, Esq. (SBN 188597)
     sspencer@sallspencer.com
 2   Michael A. Sall, Esq. (SBN 287981)
     msall@sallspencer.com
 3   SALL SPENCER CALLAS & KRUEGER
     A Law Corporation
 4   32351 Coast Highway
     Laguna Beach, CA 92651
 5   Telephone: (949) 499-2942
     Facsimile: (949) 499-7403
 6
     Attorneys for Defendants
 7   ORANGE COUNTY BAR ASSOCIATION,
     TRUDY LEVINDOFSKE and TERESA VUKI
 8
                            UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
     AYNUR BAGHIRZADE, an individual,          Case No. 3:24-cv-01077-RSH-MMP
11
              Plaintiff,
12   v.
                                           DEFENDANTS ORANGE
13   ARMENIAN NATIONAL COMMITTEE COUNTY BAR ASSOCIATION,
     OF AMERICA, a Non-Profit Corporation; TRUDY LEVINDOFSKE AND
14   et al.,                               TERESA VUKI’S NOTICE OF
                                           MOTON AND MOTION TO
15           Defendants.                   DISMISS FIRST AMENDED
                                           COMPLAINT; MEMORANDUM
16                                         OF POINTS AND AUTHORITIES
                                           IN SUPPORT THEREOF
17

18                                              Date:      November 14, 2024
                                                Judge:     Hon. Robert S. Huie
19                                              Courtroom: 3B
20                                              PER CHAMBERS RULES, NO
                                                ORAL ARGUMENT UNLESS
21                                              SEPARATELY ORDERED BY THE
                                                COURT
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1    TO THE COURT AND ALL INTERESTED PARTIES:
2          PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 12(b)(1) and
3    12(b)(6), Defendants Orange County Bar Association, Trudy Levindofske and
4    Teresa Vuki (collectively, “OCBA Defendants”) will, and hereby do, move on the
5    Court on November 14, 2024 in Courtroom 3B of the above entitled court, located at
6    880 Front St, San Diego, CA 92101, for an order dismissing Plaintiff’s First
7    Amended Complaint (Dkt #12) against them. This motion is set for
8    November 14, 2024 for purposes of calculating reply and opposition deadlines;
9    however, per Chambers rules, no oral argument will be held on the Motion unless
10   separately ordered by the Court. This motion is made on the grounds that the Court
11   lacks subject matter jurisdiction over the claim for injunctive relief because Plaintiff
12   lacks Article III standing to pursue such relief and that the First Amended
13   Complaint fails to state a claim on which relief can be granted against the OCBA
14   Defendants.
15         This motion is made following the conference of counsel that took place on
16   September 30, 2024.
17         This motion is based on this Notice and Motion, the attached memorandum of
18   points and authorities, the concurrently filed Request for Judicial Notice and
19   Declaration of Suzanne Burke Spencer in support of the motion, and such other
20   pleadings, papers, documents, and oral argument, if any, deemed appropriate by the
21   Court.
     DATED: October 10, 2024              Respectfully submitted,
22
                                          SALL SPENCER CALLAS & KRUEGER
23                                        A Professional Corporation
24

25                                        By:
                                                      Suzanne Burke Spencer
26
                                          Attorneys for Defendants
27                                        ORANGE COUNTY BAR ASSOCIATION,
                                          TRUDY LEVINDOFSKE and TERESA VUKI
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 1                                  I.   INTRODUCTION
 2         Plaintiff’s rambling, 59-page First Amended Complaint (Dkt #12) fails to
 3   satisfy even the most basic pleading requirements established under the Federal
 4   Rules of Civil Procedure. See, e.g., Fed. R. Civ. P. 8(a)(2) (requiring complaints to
 5   contain “a short and plain statement of the claim” (emphasis added)) and 8(d)(1)
 6   (“[e]ach allegation must be simple, concise, and direct”). Nor does the complaint
 7   plausibly allege facts sufficient to support any of the claims for relief asserted
 8   against Defendants the Orange County Bar Association (“OCBA”), Teresa Vuki and
 9   Trudy Levindofske (collectively, “OCBA Defendant”). As to the RICO claims,
10   which appear to be based on vague allegations of wire fraud, Plaintiff further fails to
11   satisfy the particularity requirements of Federal Rule of Civil Procedure 9(b). This
12   motion should accordingly be granted and because Plaintiff cannot truthfully or
13   plausibly allege facts to save her claims, the motion should be granted without leave
14   to amend.
15                            II.   FACTUAL BACKGROUND
16         A.     Summary of Plaintiff’s Allegations against the OCBA
17                Defendants.
18         Plaintiff’s First Amended Complaint is general and conclusory, alleging a
19   broad conspiracy against her and replete with allegations of historical animosity
20   between Armenians and Azerbaijanis. (See, generally, Dkt #12 at ¶¶ 28, 30, 35-37,
21   40-45). However, none of these general allegations asserts any specific conduct of
22   the OCBA Defendants. Plaintiff, instead, conclusorily alleges that all Defendants are
23   part of a vague and undefined “Armenian Enterprise” that is responsible for a wide-
24   range of alleged conduct, including social media harassment, negative reviews on
25   websites, and manipulation of internet search results, all with the aim of harming her
26   business opportunities. There are no specific factual allegations showing any
27   agreement or conspiracy between the OCBA Defendants and the purported
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 1   “Armenian Enterprise,” though Plaintiff generally alleges that the OCBA
 2   Defendants participated in the enterprise. (See, e.g., Dkt #12, ¶¶ 150, 159-161).
 3         Plaintiff’s allegations that touch on any conduct of, or involvement with, the
 4   OCBA begin at paragraph 99 of the complaint. Plaintiff alleges that she became a
 5   member of the OCBA in September 2021. (Dkt #12, ¶ 99). Plaintiff sought to
 6   participate in the OCBA’s mentorship program, but was assigned to a mentor who
 7   she did not care for and was practicing in immigration law, rather than business
 8   litigation. (Dkt #12, ¶¶ 101-106).
 9         Plaintiff alleges that in December 2022, she learned of the requirements of the
10   OCBA’s Lawyer Referral and Information Service (“LRIS”) that she have an office
11   in Orange County and an Orange County phone number. (Dkt #12, ¶¶ 107 & 117).
12   Plaintiff thereafter applied to the OCBA LRIS. (Dkt #12, ¶ 108). Plaintiff alleges
13   that she was denied membership on the Business Litigation and Immigration Law
14   Panels on the basis that she did not meet the qualifications for those panels. (Dkt
15   #12, ¶ 110). Plaintiff further alleges that the denials were, in fact, based on the
16   OCBA’s discrimination, in the form of not considering her international experience
17   and her participation in continuing legal education programs. (Dkt #12, ¶¶ 110-111).
18   Plaintiff was accepted on the Business & Corporate panel. (Dkt #12, ¶ 111).
19         Plaintiff alleges that, as a member of the Business & Corporate panel, she
20   received fewer referrals than she expected and did not receive referrals that resulted
21   in being retained. (Dkt #12, ¶ 112). Plaintiff alleges she complained to the
22   California State Bar about her referrals, and that the State Bar determined that there
23   was no violation of the rules governing referral services because Plaintiff received
24   referrals at a time when 14 other panel members had received no referrals. (Dkt #12,
25   ¶ 114).
26         Plaintiff generally alleges that the OCBA Defendants harassed her – though
27   specifically alleges only that she received verbal abuse from the potential clients
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 1   referred to her. (Dkt #12, ¶ 115). She also generally alleges that the OCBA
 2   Defendants harassed her through other referral organizations, (Dkt #12,
 3   ¶¶ 115-116), though she does not allege any facts demonstrating that the OCBA
 4   Defendants participated or joined in the conduct of any of the other defendants.
 5         In sum, Plaintiff’s complaint against the OCBA Defendants is that Plaintiff is
 6   dissatisfied with her involvement with the LIRS program and displeased with the
 7   volunteer mentor that was selected for her on the basis of her mentoring program
 8   application.
 9         B.       Additional Facts from Documents Referred to in the
10                  Complaint or Subject to Judicial Notice.
11         Defendant OCBA is certified by the State Bar to operate only in Orange
12   County. (Dkt #12 at 42:19-21; Request or Judicial Notice filed concurrently
13   (“RJN”), Exs. C & D [State Bar Recertifications]). The OCBA’s LRIS program has
14   been certified as being in compliance with state law and the State Bar’s rules. (RJN,
15   Ex. C at 5, Ex. D at 8). Such certification includes review of the qualifications
16   required to serve on the sub-panels for specific areas of the law. (See State Bar Rule1
17   3.801(B) & 3.823(A)).
18         As part of Plaintiff’s application to the OCBA LRIS program, Plaintiff
19   specifically agreed “to be bound by all the Rules of the Orange County Bar
20   Association Lawyer Referral & Information Service” and the California Rules of
21   Professional Conduct. (Declaration of Suzanne Burke Spencer filed concurrently
22   herewith (“Spencer Decl.”), Ex. A at 4). As such, Plaintiff agreed that “Membership
23   in the [LRIS] is a privilege of an attorney, not a right.” (Spencer Decl., Ex. B at 60
24   [OCBA LRIS Rules § 9.2]).
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27       As a courtesy to the Court, the State Bar Rules are attached as Exhibit E to the
     Declaration of Suzanne Burke Spencer filed concurrently herewith.
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 1          Plaintiff applied to the OCBA’s mentoring program – a program that matches
 2   volunteer attorney mentors with proteges to assist in their career development – in
 3   2022. (Dkt #12, ¶ 100). Plaintiff executed the Mentoring Program Protégé
 4   Participation Agreement on or about May 27, 2022, in which she agreed: “to fully
 5   release the OCBA, including its elected and appointed officers, . . . employees, . . .
 6   agents, . . . and any other persons or entities acting on its behalf, and each of them,
 7   from any and all claims for injury, loss, liability, professional negligence, damages,
 8   lawsuits, expenses (including, but not limited to, attorneys’ fees) and any other
 9   injury or liability to me or any other person acting on my behalf, in connection with
10   my participation in the Mentoring Program and I agree to waive any and all rights to
11   make any of the above claims through a lawsuit or otherwise against the OCBA and
12   the persons provided above.” (Spencer Decl., Ex. F).
13                                 III. LEGAL ARGUMENT
14          A.     Legal Standard.
15          “To survive a motion to dismiss, a complaint must contain sufficient factual
16   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”
17   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
18   550 U.S. 544, 547 (2007)). The standards established by Twombly and Iqbal
19   “teaches that a defendant should not be forced to undergo costly discovery unless
20   the complaint contains enough detail … to indicate that the plaintiff has a substantial
21   case.” Bissessur v. Indiana Univ. Bd. of Trustees, 581 F. 3d 599, 603 (7th Cir.
22   2009).
23          In ruling on a motion to dismiss, the Court may consider facts alleged in the
24   complaint, documents attached to the complaint, documents relied upon but not
25   attached to the complaint when where is not contested, and matters of which the
26   Court takes judicial notice. Lee v. City of Los Angeles, 250 F.3d 668, 688-89 (9th
27   Cir. 2001); see also Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 US 308, 322
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 1   (2007). Where such documents do not support a plaintiff’s claims, the complaint
 2   may be dismissed for failure to state a claim. See Venture Assocs. Corp. v. Zenith
 3   Data Systems Corp., 987 F2d 429, 431 (7th Cir. 1993).
 4         B.     The Statutory Scheme Governing Certified Lawyer
 5                Referral Services Lends No Support to Plaintiff’s
 6                Claims.
 7         California law heavily regulates, both by statute and the Rules of Professional
 8   Conduct, solicitation by and on behalf of attorneys. See Jackson v. LegalMatch.com,
 9   42 Cal. App. 5th 760, 772 (2019). Such regulation prohibits so-called “ambulance
10   chasing” and running and capping. Id. To balance the competing interests of the
11   “need for the public to seek out legal representation” and the need “to protect
12   against unprincipled [solicitation] activities,” the California Legislature adopted
13   California Business & Professions Code § 6155 to regulate lawyer referral services
14   and ensure they “exist for the true benefit of the public.” Id. The premise of the gist
15   of Plaintiff’s allegations against the OCBA Defendants – which is that her business
16   is not benefitting from referrals under the program – is that lawyer referral services
17   exist to benefit their attorney members. But this is not the legislative purpose of the
18   certified lawyer referral service scheme, which is to serve the public by ensuring
19   referrals go to qualified attorneys in the geographical area served by the service. See
20   Cal. Bus. & Prof. Code § 6155(f)(1). Plaintiff’s grievances about the quality and
21   number of the referrals she is receiving are fundamentally misplaced: the referrals
22   are intended to benefit the prospective clients, not her business interests. If Plaintiff
23   finds the referrals do not meet her business needs, she is free not to participate in the
24   referral service, but that is no basis for a legal claim.
25         Section 6155 section prohibits all referral services that do not register with the
26   State Bar and operate in conformity with the rules adopted by the California
27   Supreme Court. Cal. Bus. & Prof. Code § 6155(a)(1). As part of enacting the
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 1   regulatory regime, the California Legislature explicitly found that its requirements
 2   “are in the public interest and do not constitute an unlawful restraint of trade or
 3   commerce.” Cal. Bus. & Prof. Code § 6155(d). These restrictions include a referral
 4   service’s “experience, education, and training requirements” for participating
 5   attorneys, id. subdiv. (d)(2), and the standards approved by the California Supreme
 6   Court, id., subdiv. (d)(3). By statute, the minimum standards must ensure
 7   membership is open to “attorneys practicing in the geographical area served” by the
 8   referral service. Id., subdiv. (f)(1).
 9          The standards adopted by the California Supreme Court require referral
10   services to be certified by the county in which the service operates, State Bar
11   Rule 3.801, and limits membership to attorney’s practicing in that county by
12   “maintaining a place of business” or “otherwise suitable location” in the county for
13   performing services, State Bar Rule 3.824. The standards also require that for all
14   subject matter panels, the attorney member “meet the experience and other
15   substantial and objective criteria” adopted by the referral service. State Bar
16   Rule 3.824.
17          C.     The OCBA Is Immune from Plaintiff’s Damages
18                 Claims.
19                 1.     Plaintiff Released and Waived Any Claims
20                        Against the OCBA Defendants Arising From Her
21                        Involvement in the Mentoring Program.
22          Although it is not quite clear what claims are based on Plaintiff’s allegations
23   that the OCBA mistreated her with respect to participation in the volunteer
24   mentoring program (Dkt #12, ¶¶ 100-106), whatever those claims could be, Plaintiff
25   has waived and released the OCBA, its officers, employees and agents from any
26   liability arising from her participation in the program. (Spencer Decl., Ex. F at 81).
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 1   To the extent any claim is based on Plaintiff’s participation in the mentoring
 2   program, it should be dismissed with prejudice.
 3                2.    The OCBA Is Immune From Any Alleged
 4                      Liability Based on Referrals Under the LRIS.
 5         As an initial matter, California law provides that certified lawyer referral
 6   services, such as the OCBA, are immune to monetary liability “for referring any
 7   member of the public to any professional member of the society or service.” Cal.
 8   Bus. & Prof. Code § 43.95(a). The OCBA is a certified lawyer referral service
 9   within the scope of the statute. (See Dkt #12, ¶ 185 & RJN, Exs. C & D). Plaintiff’s
10   claims against the OCBA arise from the referral of potential clients to her as a
11   member of the OCBA LRIS. (See, e.g., Dkt #12, ¶¶ 112, 115, 150, 170, 213, 230,
12   259, & 305). Plaintiff cannot bring damages claims based on such referrals.
13         D.     Plaintiff Lacks Standing to Pursue Injunctive Relief as
14                to the Operation of the OCBA LRIS.
15         To have Article III standing to assert a claim for injunctive relief, the threat of
16   future injury to the Plaintiff must be “actual and imminent, not conjectural or
17   hypothetical.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir.
18   2018). “Where standing is premised entirely on the threat of repeated injury, a
19   plaintiff must show ‘a sufficient likelihood that he will be wronged again in a
20   similar way.’” Id. (quoting City of Los Angeles v. Lyons, 416 U.S. 95, 111 (1983)).
21   Here, Plaintiff has alleged no facts from which the Court could find that she faces an
22   actual an imminent threat of future injury from the OCBA LRIS program.
23         Plaintiff does not allege that she is currently a member of the OCBA LRIS
24   program nor does she allege that she wishes to be a member of the service in the
25   future. Nor could Plaintiff plausibly allege that she would be eligible to be a
26   member of the service in the future. In order to participate in the OCBA LRIS,
27   attorneys must agree to abide by the California Rules of Professional Conduct. (See
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 1   Spencer Decl., Ex. A at 3; Ex. B at 61 [OCBA LRIS Rules § 9.1]). The Rules of
 2   Professional Conduct prohibit discrimination against persons on the basis of any
 3   protected characteristic, including national origin and ethnicity, in “refusing to
 4   accept the representation of any client.” Cal. R. of Prof. Conduct 8.4.1(a). Plaintiff
 5   has expressly alleged that she wishes to discriminate against potential clients who
 6   are Armenian and that she asked Defendant LACBA not to send her referrals to
 7   Armenian clients. (Dkt #12, ¶¶ 121 & 122). In light of these admissions, Plaintiff
 8   cannot plausibly allege that she would be eligible for membership in the OCBA
 9   LRIS in the future. As such, Plaintiff has not and cannot establish Article III
10   standing to pursue injunctive relief.
11         E.     Plaintiff’s First Through Third RICO Claims Fail
12                Because Plaintiff Has Not Specifically Alleged Fraud
13                and Cannot Plausibly State Those Claims for Relief
14         Plaintiff attempts to assert claims under the Racketeer Influenced and Corrupt
15   Organizations Act (“RICO”), 18 U.S.C. § 1962(b), (c) and (d). As provided in 18
16   U.S.C. § 1964(c): “[a]ny person injured in his business or property by reason of a
17   violation of section 1962 of this chapter may sue therefor in any appropriate United
18   States district court . . ..” That attempt has failed.
19         The “elements of a civil RICO claim are as follows: (1) conduct (2) of an
20   enterprise (3) through a pattern (4) of racketeering activity (known as predicate acts)
21   (5) causing injury to plaintiff's business or property.” Living Designs, Inc. v. E.I.
22   Dupont de Nemours & Co., 431 F. 3d 353, 361 (9th Cir. 2005). “A civil RICO
23   claim requires allegations of the conduct of an enterprise through a pattern of
24   racketeering activity that proximately caused injury to the plaintiff.” Swartz v.
25   KPMG LLP, 476 F. 3d 756, 760-61 (9th Cir. 2007).
26         The conclusory and lengthy allegations of the complaint fail to set forth
27   sufficient facts to even describe what the alleged “Armenian Enterprise” is, let alone
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 1   how the alleged OCBA Defendants – which have no targeted or particular ties to the
 2   Armenian community – are supposedly part of this enterprise. Nor does the
 3   complaint allege with specificity how the OCBA Defendants’ alleged delivery of
 4   “fake referral, referrals to harass her, to leave her with no business and generally to
 5   affect her business and income” or failure to make a “fair distribution of the referrals
 6   they’ve received” constitutes fraud. (Dkt #12, ¶¶ 150, 160, 170). Plaintiff has thus
 7   failed to satisfy the requirements of Federal Rules of Civil Procedure 8 and 9(b) and
 8   on this basis alone, the First, Second and Third Claims for Relief should be
 9   dismissed.
10         In addition, where a plaintiff alleges RICO claims against many defendants,
11   “plaintiff must allege at least two predicate acts by each defendant.” In re
12   WellPoint, Inc., 865 F. Supp. 2d 1002, 1035 (C.D. Cal. 2011) (emphasis in original).
13   Further, continuity is inherent in the requirement for a pattern of racketeering
14   activity. See H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 237 (1989).
15   “[T]o prove a pattern of racketeering activity a plaintiff . . . must show that the
16   racketeering predicates are related, and that they amount to or pose a threat of
17   continued activity.” Id. at 239 (emphasis in original). These requirements are
18   separate. See id. at 242 (“what must be continuous, RICO’s predicate acts or
19   offenses, and the relationship these predicates must bear one to another, are distinct
20   requirements” (emphasis in original)). “Predicate acts extending over a few weeks
21   or months and threatening no future criminal conduct do not satisfy this
22   requirement: Congress was concerned in RICO with long-term criminal conduct.”
23   Id. Plaintiff’s RICO’s claims against the OCBA Defendants fail for this additional
24   reason. They do not allege – even if taken as true – a pattern of continuous
25   racketeering activity that threatens long-term criminal conduct and nor could
26   Plaintiff plausibly so allege. The RICO claims should accordingly be dismissed
27   with prejudice.
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 1         F.     Plaintiff’s Claims Based on the Restraint of Trade Fail
 2                as a Matter of Law.
 3         Plaintiff’s fourth, sixth, and seventh claims for relief are predicated on the
 4   OCBA LRIS being engaged in an unlawful restraint of trade by requiring Plaintiff to
 5   maintain an office in Orange County and have a local Orange County phone number
 6   or by imposing experience requirements on membership for subject matter panels.
 7   These claims fail as a matter of law.
 8         As discussed above, California law expressly requires referral services to
 9   limit their operation to designated counties and to limit membership to attorneys
10   who operate in those counties by having an office or other appropriate location to
11   provide services. State Bar Rules 3.801(A) & 3.824. Similarly, the State Bar
12   requires participating referral services to adopt experience and other qualification
13   criteria for membership in subject matter panels. State Bar Rules 3.801(B), 3.823, &
14   3.824. These standards, approved by the California Supreme Court, are “in the
15   public interest and do not constitute an unlawful restraint of trade or commerce.”
16   Cal. Bus. & Prof. Code § 6155(d). Accordingly, they cannot be a basis for Plaintiff’s
17   antitrust and unlawful competition claims. To the contrary, the geographical
18   limitations and experience requirements about which Plaintiff complains are
19   required by state law and the State Bar Rules approved by the California Supreme
20   Court. The OCBA LRIS program, including OCBA LRIS Rule 5.1 which Plaintiff
21   seeks to enjoin, has been certified as being compliant with state law and the State
22   Bar Rules. (RJN, Ex. C at 5, Ex. D at 8). The conduct about which Plaintiff
23   complains is not unlawful.
24         As to the fourth claim for relief based on the Sherman Act, Plaintiff’s claim
25   further fails on the basis of Parker immunity and Noerr-Pennington doctrine.
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 1   Parker immunity2 protects “most state laws and actions from antitrust liability.”
 2   Sanders v. Brown, 504 F. 3d 903, 915 (9th Cir. 2007). Among the categories of state
 3   action exempt from the Sherman Act is the regulation of attorneys by a state
 4   supreme court. Mothershed v. Justices of Supreme Court, 410 F. 3d 602, 608-09
 5   (9th Cir. 2005), as amended on denial of reh’g, July 21, 2005. However, Parker
 6   immunity also extends to non-state acts. Where a restriction of competition by a
 7   private actor is the implementation of authorized state policy, such a restriction is
 8   exempt from the Sherman Act. City of Columbia v. Omni Outdoor Advertising, Inc.,
 9   499 U.S. 365, 370 (1991).
10           In City of Columbia, the United States Supreme Court considered a municipal
11   ordinance restricting the construction of billboards that had the effect of favoring an
12   existing billboard company to the detriment of a new billboard company. See City
13   of Columbia, 499 U.S. at 368. The Court explained that state law authorized the
14   municipality to regulate the construction of structures with the foreseeable result
15   that competition could be restricted. Id. at 372-374. The restriction on billboard
16   construction was accordingly “prime facie entitled” to state action immunity, even
17   though the municipality itself was not a state actor. Id. at 374. Such allegedly
18   anticompetitive private conduct taken pursuant to state law receives immunity where
19   (1) the state’s anticompetitive policy is “‘clearly articulated and affirmatively
20   expressed as state policy’” and (2) the conduct is “‘actively supervised by the
21   state.’” Sanders v. Brown, 504 F. 3d at 915-916 (quoting California Retail Liquor
22   Dealers Ass’n v. Midcal Aluminum, Inc., 445 U.S. 97, 105 (1980)).
23           Here, California law – as adopted by the Legislature and the Supreme Court –
24   necessarily restrict the operations of the OCBA LRIS only to the county in which it
25   is certified to operate: Orange County. See Bus. & Prof. Code § 6155(f)(1) (directing
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27   2
         Parker v. Brown, 317 U.S. 341 (1943).
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 1   State Bar to adopt minimum standards for membership “in the geographical area
 2   served” by the referral service); State Bar Rules 3.801(A) (requiring referral services
 3   to specify the counties in which they operate) & 3.824 (restricting membership in
 4   referral services based on county). Indeed, the California Supreme Court’s rules
 5   expressly contemplate using the physical location of an attorney’s office as the
 6   touchstone for compliance with this requirement. See State Bar Rule 3.824.
 7   Accordingly, to the extent that limiting the scope of the OCBA LRIS to attorneys
 8   with an office in Orange County is anticompetitive, the policy behind such
 9   limitations has been clearly and affirmatively expressed by the State of California.
10   The same is true as to the OCBA’s requirements for membership on a subject matter
11   panel. The OCBA is affirmatively required to adopt qualification standards for
12   subject matter panels, see Rule 3.824; Bus. & Prof. Code § 6155(f)(1) (directing the
13   State Bar to adopt rules for panel membership for attorneys who “are qualified by
14   virtue of suitable experience”), and such standards are expressly authorized by Bus.
15   & Prof. Code § 6155(d)(2) as not being an unlawful restraint of trade.
16         Moreover, the OCBA’s operation of the LRIS is actively supervised by the
17   state. The State Bar, acting at the direction of the Supreme Court, has reviewed and
18   approved the OCBA LRIS’s rules, including both its geographic rules and panel
19   membership criteria, as being in compliance with the state’s regulatory regime.
20   (RJN, Ex. C at 5, Ex. D at 8). Indeed, Plaintiff availed herself of the opportunity to
21   file a complaint with the State Bar about the operation of the OCBA LRIS, and the
22   State Bar found no violation. (Dkt #12, ¶ 114). As such, the OCBA LRIS is entitled
23   to immunity for operating within the requirements of state law.
24         Alternatively, the OCBA Defendants are immune under Noerr-Pennington
25   doctrine, which immunizes a broad range of petitioning the government even if the
26   subjective intention of the petitioners is anti-competitive. See Sanders, 504 F.3d at
27   912; City of Columbia, U.S. 383-384 (companies lobbying municipality for
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 1   anticompetitive restrictions on billboards had immunity under Noerr-Pennington
 2   doctrine). In Sanders, the Ninth Circuit considered claims that the master settlement
 3   agreement entered between tobacco companies and 46 states established an anti-
 4   competitive price-fixing scheme in violation of state and federal anti-trust laws. Id.
 5   at 906. The court held that negotiating the settlement agreement, seeking approval of
 6   the settlement by the California courts, and acting according to the terms of the
 7   settlement were all immune from antitrust liability. Id. at 912 & 914. So, too here.
 8   The OCBA LRIS application the California State Bar for permission to operate a
 9   lawyer referral service is classic petitioning activity that is entitled to immunity. As
10   in Sanders, operating under the terms of the State Bar’s certification of the lawyer
11   referral service cannot give rise to antitrust liability.
12          Accordingly, the Plaintiff’s fourth, sixth, and seventh claims for relief should
13   be dismissed.
14          G.     Plaintiff’s Discrimination Claims Likewise Fail.
15                 1.     Plaintiff’s Fifth Claim for Relief Fails Because
16                        the OCBA’s Referral Service is Not a Place of
17                        Public Accommodation.
18          Plaintiff’s fifth claim for relief alleges that she was denied access to the
19   OCBA lawyer referral service on the basis of her ethnicity, national origin, or
20   religious views in violation of 42 U.S.C. § 2000a. This statute “prohibits
21   discrimination in places of public accommodation,” such as hotels, restaurants, and
22   gas stations. Clegg v. Cult Awareness Network, 18 F.3d 752, 753 (9th Cir. 1994)
23   (emphasis added). The statute only provides a remedy for “discrimination occurring
24   in facilities or establishments open to the public.” Id. at 755. Simply put, the
25   defendant must be a “place” or operate a physical “place” – organizations only fall
26   within the scope of the statue when “entry into a facility open to the public is
27   dependent on membership in the organization governing the facility.” Id. at 755.
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 1   “When an organization is unconnected to entry into a public place or facility, the
 2   plain language of Title II makes the statute inapplicable.” Id. at 756. Here, Plaintiff
 3   has not alleged and cannot plausibly allege that the OCBA Defendants operate any
 4   public place or facility open to the public. Rather, the OCBA LRIS is a lawyer
 5   referral service. Mere operation of a service, without a physical facility or
 6   establishment open to the public, is insufficient to trigger Title II’s protections. This
 7   claim for relief should be dismissed.
 8                2.     Plaintiff Has Not Plausibly Alleged a
 9                       Discriminatory Intent on the Part of the OCBA
10                       Defendants.
11         Both Plaintiff’s fifth and eighth claims for relief require the Plaintiff to plead
12   and prove a discriminatory intent on the part of the OCBA Defendants. “A plaintiff
13   alleging a violation of Section 2000a must allege . . . facts which demonstrate
14   discriminatory intent.” Coward v. Town and Village of Harrison, 665 F. Supp. 2d
15   281, 307 (S.D.N.Y. 2009); see also Hardie v. Nat. Collegiate Athletic Ass’n, 97 F.
16   Supp. 3d 1163, 1169 (S.D. Cal. 2015) (requiring proof of discriminatory intent
17   because disparate impact claims do not lie under 42 U.S.C. § 2000a). Similarly, a
18   violation of Cal. Civ. Code § 52 – when not premised on a violation of the
19   Americans with Disabilities Act – requires a plaintiff to “plead and prove intentional
20   discrimination.” Harris v. Capital Growth Investors XIV, 52 Cal. 3d 1142, 1175
21   (1991) (superseded by statute on other grounds as stated in Munson v. Del Taco,
22   Inc., 46 Cal. 4th 661, 672 (2009)).
23         Here, the only allegations to support any claims for intentional discrimination
24   by the OCBA Defendants are that they “joined DEFENDANTS ANCA and
25   ANCAWR in their persecution of PLAINTIFF because of her ethnicity, national
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 1   origin, religion, political views3 and etc.” (Dkt #12 at 42:28-43:2; see also Dkt #12,
 2   ¶¶ 198 & 217). These vague and conclusory allegations, unsupported by any factual
 3   allegations showing any agreement or coordinated action between the OCBA
 4   Defendants and ANCA or ANCAWR, are implausible and insufficient to state a
 5   claim for intentional discrimination. These claims should be dismissed.
 6         H.     Plaintiff Has Not Plausibly Pled a Harassment Claim.
 7         Plaintiff’s Ninth Claim for Relief for harassment in violation of California
 8   Code of Civil Procedure § 527.6 fails. The elements of such a claim are: “(1) a
 9   knowing and willful course of conduct entailing a pattern of a series of acts over a
10   period of time, however short, evidencing a continuity of purpose; (2) directed at a
11   specific person; (3) which seriously alarms, annoys, or harasses the person; (4)
12   which serves no legitimate purpose; (5) which would cause a reasonable person to
13   suffer substantial emotional distress and actually causes substantial emotional
14   distress to the plaintiff; and (6) which is not a constitutionally protected activity.”
15   Schild v. Rubin, 232 Cal. App. 3d 755, 762 (1991) (internal quotation marks
16   omitted). As to the OCBA Defendants, the only allegation of harassment is that they
17   “sen[t] [Plaintiff] referrals she continuously asked not to send her, sending her the
18   referrals not in her practice.” (Dkt #12, ¶ 230; see also Dkt #12 at 28:15-17).4 This
19   allegation is insufficient to sufficiently plead the elements of harassment.
20         Specifically, Plaintiff contracted with the OCBA LRIS to receive referrals
21   under terms which require Plaintiff to consult with any person referred to her
22   through the system. (Spencer Decl., Ex. B, §§ 6.3 & 6.4). Having joined the OCBA
23   LRIS in order to receive referrals, Plaintiff cannot now allege that she was harassed
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     3
25    Of course, persons holding differing political views do not constitute a protected
     category under either 42 U.S.C. § 2000a or Cal. Civ. Code § 51.
26   4
      Plaintiff also alleges that all Defendants “suspend[ed] her membership while she
27   was an active member of the bar.” (Dkt #12, ¶ 230). However, elsewhere Plaintiff
     alleges only that LACBA suspended her. (See Dkt #12, ¶ 122).
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 1   by having the referrals sent to her. The referrals were sent “for a legitimate purpose”
 2   – making the referrals provided for under the LRIS rules. Moreover, under the facts
 3   present here, it is not plausible that 12 referrals, over the course of a year, even if
 4   annoying or offensive, would have caused a reasonable attorney to suffer “intense,
 5   enduring and nontrivial emotional distress.” See Hansen v. Volkov, 96 Cal. App. 5th
 6   94, 106 (2023) (offensive and annoying interaction with opposing counsel did not
 7   cause substantial emotion distress to an experienced family law attorney). Indeed,
 8   Plaintiff has alleged no facts to demonstrate that she in fact suffered such severe
 9   emotional distress.
10         Simply put: Plaintiff is dissatisfied with the quality of the referrals she
11   received. (See Dkt #12 at 27:27-28). However, certified lawyer referral services
12   exist to benefit the public by meeting their need to locate attorneys, see Jackson, 42
13   Cal. App. 5th at 772, not to benefit attorneys by guarantying high-quality leads.
14   Plaintiff does not and cannot plausibly allege that the OCBA Defendants knew the
15   prospective clients would not retain Plaintiff or that they would be, as alleged,
16   verbally abusive to her; nor could the OCBA Defendants be reasonably expected to
17   know those things. If Plaintiff was dissatisfied with the quality of the referrals, and
18   found participation in the service to not be worth her time, she was free to resign
19   from the service at any time. She cannot articulate a harassment claim based on her
20   receipt of referrals she requested – indeed, to the contrary, Plaintiff complained she
21   was not receiving enough of them! (Dkt #12, ¶ 112). Plaintiff has not, and cannot,
22   plausibly allege that the OCBA Defendants harassed her in connection with the
23   referrals she received.
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 1         I.     Plaintiff Has Not Plausibly Pled Emotional Distress.
 2                1.     The Eleventh Claim for Relief for Intentional
 3                       Infliction of Emotional Distress Fails.
 4         The elements of the tort of intentional infliction of emotional distress are “(1)
 5   extreme and outrageous conduct by the defendant with the intention of causing, or
 6   reckless disregard of the probability of causing, emotional distress; (2) the plaintiff’s
 7   suffering severe or extreme emotional distress; and (3) actual and proximate
 8   causation of the emotional distress by the defendant’s outrageous conduct.” Fletcher
 9   v. Western National Life Ins. Co., 10 Cal. App. 3d 376, 394 (1970). To qualify as
10   “outrageous” for purposes of this tort, the “conduct must be so outrageous in
11   character and so extreme in degree as to go beyond all possible bounds of decency
12   and to be regarded as atrocious and utterly intolerable in a civilized community.”
13   Melorich Builders, Inc. v. Superior Court, 160 Cal. App. 3d 931, 936 (1984).
14         To the extent it can be discerned from the lengthy complaint, even if taken as
15   true, the alleged conduct upon which Plaintiff’s claims against the OCBA
16   Defendants is based does not satisfy this heavy burden. Even if it is true that the
17   OCBA did not give Plaintiff the number or quality of referral she expected to
18   receive under the LRIS – a service provided for the benefit of the public, not
19   lawyers – that conduct would hardly rise to the level of extreme and outrageous.
20   Moreover, Plaintiff fails to allege how any alleged conduct by the OCBA
21   Defendants proximately caused her serious emotional distress. This Eleventh
22   Claims for Relief should accordingly be dismissed with prejudice.
23                2.     The Twelfth Claim for Relief for Negligent
24                       Infliction of Emotional Distress Fails Because the
25                       OCBA Defendants Owed No Duty to Plaintiff.
26         In California, there is no cognizable independent action for negligent
27   infliction of emotional distress; rather, the claim is one for ordinary negligence.
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 1   Because, however, there is no general duty to prevent emotional distress, the tort
 2   must be based on breach of some other duty to the plaintiff. “[N]egligent infliction
 3   of emotional distress is an extremely narrow tort in which the defendant must breach
 4   a legal duty which causes severe, substantial, and enduring emotional distress.”.
 5   Dymits v. State St. Bank & Tr. Co., No. C-94-4144-CAL, 1995 WL 494596, at *2
 6   (N.D. Cal. Aug. 8, 1995), aff'd, 89 F. 3d 845 (9th Cir. 1996) (citing Nally v. Grace
 7   Community Church, 47 Cal. 3d 253 (1988), cert. denied, 490 U.S. 1007 (1989);
 8   Twaite v. Allstate Insurance Co., 216 Cal. App. 3d 239 (1989)). “Serious emotional
 9   distress is an essential element of a cause of action for negligent infliction of
10   emotional distress.” Kelly v. General Tel. Co., 136 Cal. App. 3d 278 (1982).
11         Plaintiff here cannot state a claim for negligence as a matter of law because
12   the OCBA Defendants owed her no legal duty to provide referrals – whether
13   qualified or not – and no duty to assist Plaintiff in building her law practice.
14   Marlene F. v. Alliance Psychiatric Medical Clinic, Inc., 48 Cal. 3d 583, 588 (1989)
15   (whether a defendant owes a duty of care is a question of law). The Twelfth Claim
16   for Relief against the OCBA Defendants should accordingly be dismissed with
17   prejudice.
18         J.     Plaintiff Cannot Plausibly Allege Any Claims Against
19                Defendants Levindofske and Vuki
20         Plaintiff has not alleged any basis for individual liability of Defendant Trudy
21   Levindofske – the former CEO of the OCBA – or Teresa Vuki – an employee of the
22   OCBA. All of the claims asserted against them should accordingly be dismissed
23   with prejudice.
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1                                 IV. CONCLUSION
2         For all of the forgoing reasons, Plaintiff’s First Amended Complaint should
3    be dismissed against the OCBA Defendants without leave to amend.
4
     DATED: October 10, 2024           Respectfully submitted,
5
                                       SALL SPENCER CALLAS & KRUEGER
6                                      A Professional Corporation
7

8
                                       By:
9                                                  Suzanne Burke Spencer
10                                     Attorneys for Defendants
                                       ORANGE COUNTY BAR ASSOCIATION,
11                                     TRUDY LEVINDOFSKE and TERESA VUKI
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